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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                            No. 16 CR 438–1
         v.
                                            Judge John Z. Lee
ARTEM VAULIN, also known as “tirm”


                        UNOPPOSED STATUS REPORT

      The United States of America, by its attorney, JOHN R. LAUSCH, JR.,

submits the following status report: Defendant is still undergoing extradition

proceedings in Poland, and the parties are not currently aware of a timetable for a

resolution of those proceedings. Counsel for the government has contacted

defendant’s local counsel, who indicated that he had no objection to this report.


Dated:        October 15, 2019         Respectfully submitted,

                                       JOHN R. LAUSCH, JR.
                                       United States Attorney

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